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        class
   12

   13

   14
                                   UNITED STATES DISTRICT COURT
   15
                                  CENTRAL DISTRICT OF CALIFORNIA
   16
                                             WESTERN DIVISION
   17

   18   ARAM TERTERYAN, TATYANA                               Case No. CV 16-2029-GW-KSx
        DAVTYAN, and MARINE DAVTYAN,
   19   individually and on behalf of all others              CLASS ACTION
        similarly situated,
   20                                                         ORDER APPROVING NOTICES TO
                             Plaintiff.                       CLASS AND FOR CONTINUANCE OF
   21                                                         SETTLEMENT DATES
               v.
   22                                                         Courtroom 9D – 9th Floor (1st St.)
        NISSAN MOTOR ACCEPTANCE                               Hon. George H. Wu
   23   CORPORATION,

   24                           Defendant.
        ____________________________________/
   25

   26          Having duly considered the Joint Status Report Regarding Class Notice and Stipulation

   27   for Continuance of Settlement Dates and Declaration of Bryan Kemnitzer In Support Thereof,

   28   AND GOOD CAUSE APPEARING, THE COURT HEREBY FINDS AND ORDERS THE

                                                             1
                                          Order for Continuance of Settlement Dates
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    1   FOLLOWING AMENDED SCHEDULE:

    2           Previous             Proposed New
                deadline             Deadline
    3
                February 15, 2022    April 11, 2022       Deadline to Provide Class Notice (see
    4                                                     §8.01 of Settlement Agreement
    5           April 6, 2022        May 31, 2022         Deadline for Plaintiffs’ Motion for
                [50 days after                            Attorneys’ Fees (see §5.03 of the
    6           Class Notice                              Settlement Agreement)
                Date]
    7
                April 18, 2022       June 17, 2022        Deadline for Class Members to file
    8           [60 days after                            Objections or submit Requests for
                Class Notice                              Exclusion/Opt-Outs (see §§2.28, 2.29 of
    9           Date]                                     the Settlement Agreement)
   10
                May 16, 2022         July 15, 2022        Deadline for Settlement Class Members to
   11           [90 days after the                        Submit a Claim Form (see §2.09 of the
                Class Notice                              Settlement Agreement)
   12           Date]

   13           June 2, 2022         July 29, 2022        Deadline for Parties to File the Following:
                [14 days before                           (1) List of Class Members who Made
   14           the Final                                     Timely and Proper Requests for
                Approval Hearing                              Exclusion;
   15
                                                          (2) Proof of Class Notice and CAFA
   16                                                         Notice; and
                                                          (3) Motion and Memorandum in Support
   17                                                         of Final Approval, including responses
                                                              to any Objections.
   18                                                     (see §11.02 of the Settlement Agreement)
   19           June 9, 2022         August 5, 2022       Deadline for Defendant to File any
                [7 days before the                        response to request for final approval
   20           Final Approval
                Hearing]
   21
                June 16, 2022        Aug. 22, 2022        Final Approval Hearing
   22           at 8:30 a.m.         at 8:30 a.m.
   23
        SO ORDERED.
   24

   25
        Dated: April 6, 2022                    _______________________________________
   26                                           Hon. George H. Wu
                                                United States District Judge
   27

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                                                         2
                                      Order for Continuance of Settlement Dates
